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                                     ON REHEARING EN BANC

                                              PUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                               No. 16-4441


        UNITED STATES OF AMERICA,

                             Plaintiff - Appellee,

                      v.

        JESMENE LOCKHART, a/k/a Jesmene Laquin-Montre Lockhart, a/k/a Jasmene
        Lockhart,

                             Defendant - Appellant.


        Appeal from the United States District Court for the Western District of North Carolina, at
        Charlotte. Robert J. Conrad, Jr, District Judge. (3:15-cr-00034-RJC-1)


        Argued: September 19, 2019                                     Decided: January 10, 2020


        Before GREGORY, Chief Judge, and WILKINSON, NIEMEYER, MOTZ, KING, AGEE,
        KEENAN, WYNN, DIAZ, FLOYD, THACKER, HARRIS, RICHARDSON,
        QUATTLEBAUM, and RUSHING, Circuit Judges.


        Vacated and remanded by published opinion. Judge Keenan wrote the majority opinion,
        in which Chief Judge Gregory, Judge Wilkinson, Judge Motz, Judge King, Judge Wynn,
        Judge Diaz, Judge Floyd, Judge Thacker, Judge Harris, and Judge Richardson joined.
        Judge Wilkinson wrote a concurring opinion. Judge Wynn wrote a concurring opinion.
        Judge Rushing wrote a dissenting opinion, in which Judge Niemeyer, Judge Agee, and
        Judge Quattlebaum joined.




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        ARGUED: Joshua B. Carpenter, FEDERAL PUBLIC DEFENDERS OF WESTERN
        NORTH CAROLINA, Asheville, North Carolina, for Appellant. Amy Elizabeth Ray,
        OFFICE OF THE UNITED STATES ATTORNEY, Asheville, North Carolina, for
        Appellee. ON BRIEF: Anthony Martinez, Federal Public Defender, FEDERAL PUBLIC
        DEFENDERS OF WESTERN NORTH CAROLINA, Charlotte, North Carolina, for
        Appellant. R. Andrew Murray, United States Attorney, OFFICE OF THE UNITED
        STATES ATTORNEY, Charlotte, North Carolina, for Appellee.




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        BARBARA MILANO KEENAN, Circuit Judge:

               Jesmene Lockhart appeals his conviction for possession of a firearm by a convicted

        felon, in violation of 18 U.S.C. § 922(g)(1), and his mandatory minimum 15-year sentence

        of imprisonment imposed under the Armed Career Criminal Act, 18 U.S.C. § 924(e)

        (ACCA). Lockhart contends that the magistrate judge plainly erred by failing to advise

        him during the Rule 11 plea colloquy of his potential exposure to the 15-year mandatory

        minimum sentence.      Lockhart asserts that if he had been properly informed of his

        sentencing exposure, there is a “reasonable probability” that he would not have pleaded

        guilty. He also argues that the Supreme Court’s intervening decision in Rehaif v. United

        States, 139 S. Ct. 2191 (2019), renders his guilty plea involuntary, because he did not

        understand the essential elements of the offense to which he pleaded guilty.

               Upon consideration of the parties’ arguments, we hold that Lockhart has established

        prejudice for purposes of plain error review. We therefore vacate his conviction and

        remand the case to the district court for further proceedings.



                                                     I.

               In September 2014, officers with the Charlotte-Mecklenburg Police Department in

        North Carolina responded to a report of suspicious activity involving individuals in a

        parked car. When they arrived at the scene, an officer saw Lockhart sitting in the driver’s

        seat of the vehicle. The officer observed Lockhart use his right hand to provide his

        identification, “while reaching down by his left leg with his left hand, where the officer

        saw the butt of [a] gun with a magazine clip.” The officers recovered the loaded handgun

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        and an additional magazine from the driver’s side of the car, and the authorities later

        determined that the firearm was stolen.

                Lockhart pleaded guilty without a written plea agreement to a single count of

        possession of a firearm by a convicted felon, in violation of 18 U.S.C. § 922(g)(1). During

        the Rule 11 plea colloquy, the magistrate judge asked the government to “summarize the

        charge and the penalty.” The government responded that the “maximum penalty” Lockhart

        faced was 10 years’ (120 months’) imprisonment. At no time during the plea colloquy did

        the court or the government clarify that Lockhart’s criminal history could result in a 15-

        year (180-month) mandatory minimum sentence under the ACCA.

               The probation officer prepared a presentence report (PSR), and recommended

        sentencing Lockhart as an armed career criminal under the ACCA based on three prior

        convictions for North Carolina robbery with a dangerous weapon. All his convictions were

        based on offenses committed in a one-week time period when Lockhart was 16 years old.

        In the PSR, the probation officer explicitly highlighted the error in the plea colloquy, noting

        that Lockhart “was informed that his statutory penalties . . . were not more than ten years[’]

        imprisonment,” but that “based on [Lockhart’s] three prior convictions for violent felonies,

        [his] statutory penalties . . . are not less than fifteen years[’] imprisonment.”

               Lockhart’s counsel objected to the proposed ACCA designation on the grounds that

        (1) Lockhart’s North Carolina convictions, which were consolidated for judgment, should

        count as a single ACCA predicate, and (2) an ACCA sentence would violate the Eighth

        Amendment because Lockhart was a juvenile when he committed the offenses. Lockhart



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        did not assert that he previously had been unaware of his potential ACCA designation, nor

        did he seek to withdraw his guilty plea.

                 After overruling the objections of Lockhart’s counsel, the district court concluded

        that Lockhart qualified as an armed career criminal under the ACCA and imposed the

        mandatory minimum term of 180 months’ imprisonment. Following the court’s imposition

        of sentence, Lockhart’s counsel conferred with the government’s counsel and informed the

        court:

                 I’m going back to his plea colloquy. He didn’t plead to 924(e) [ACCA] it
                 was not on the Bill of Indictment. But I went over it beforehand. So I just
                 want to put it on the record that he was fully aware of that. I just thought
                 about it.

        The government’s counsel added, “We just wanted to make a record of that.” The district

        court did not ask counsel to elaborate on the issue, and did not confirm with Lockhart

        whether he was aware of his potential ACCA exposure before pleading guilty.

                 Lockhart appealed, represented by new appellate counsel. A panel of this Court

        affirmed Lockhart’s conviction. See United States v. Lockhart, 917 F.3d 259 (4th Cir.

        2019), vacated by 771 F. App’x 204 (4th Cir. 2019). Upon Lockhart’s request for

        rehearing, we vacated the panel’s opinion and now consider the case en banc.


                                                     II.

                 Because Lockhart did not attempt to withdraw his guilty plea in the district court,

        we review his plea challenge for plain error. United States v. McCoy, 895 F.3d 358, 364

        (4th Cir. 2018). To succeed under plain error review, a defendant must show that: (1) an

        error occurred; (2) the error was plain; and (3) the error affected his substantial rights.

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        United States v. Olano, 507 U.S. 725, 732 (1993). We retain the discretion to correct such

        an error but will do so “only if the error seriously affects the fairness, integrity or public

        reputation of judicial proceedings.” United States v. Massenburg, 564 F.3d 337, 343 (4th

        Cir. 2009) (quoting Olano, 507 U.S. at 732) (internal quotation marks omitted).

               Lockhart argues that if he had known he was facing a 180-month minimum sentence

        under the ACCA, rather than the 120-month maximum stated at the plea hearing, he likely

        would not have pleaded guilty. Lockhart asserts that the benefit he gained from pleading

        guilty was “so small as to be virtually non-existent” and, thus, that he would have had a

        strong incentive to proceed to a trial in an attempt to avoid the 180-month ACCA sentence.

        Lockhart separately argues that the Supreme Court’s decision in Rehaif, 139 S. Ct. 2191,

        issued after the panel opinion in this case, constitutes an intervening change in the law that

        requires vacatur of his guilty plea.

               In response, the government concedes that the magistrate judge committed plain

        error in failing to advise Lockhart of his correct sentencing exposure. However, the

        government contends that this error did not affect Lockhart’s substantial rights, because he

        has failed to show a “reasonable probability” that he would not have pleaded guilty if the

        court had advised him of his correct sentencing range. See United States v. Dominguez

        Benitez, 542 U.S. 74, 76 (2004). The government also asserts that the Supreme Court’s

        decision in Rehaif does not require that Lockhart’s conviction be vacated.

               In addressing these arguments, we first consider the magistrate judge’s failure to

        advise Lockhart of the increased sentence he faced due to his potential ACCA eligibility.

        Both parties aver, and we agree, that the first two prongs of plain error review on this issue

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        are satisfied. Under Federal Rule of Criminal Procedure 11, a district court must advise a

        defendant of “any maximum possible penalty,” as well as “any mandatory minimum

        penalty,” before accepting a guilty plea. Fed. R. Crim. P. 11(b)(1)(H), (I).

               And even if a district court is not certain whether a defendant will qualify for an

        enhanced sentence under the ACCA, the court nevertheless must “anticipate the possibility

        and explain to [the defendant] the sentence that would be applicable if he had prior

        qualifying convictions.” United States v. Hairston, 522 F.3d 336, 340 (4th Cir. 2008); see

        also Massenburg, 564 F.3d at 343 (error was plain when defendant was not advised of

        potential ACCA sentence before pleading guilty). As the Supreme Court has explained:

               If the judge told the defendant that the maximum possible sentence was 10
               years and then imposed a sentence of 15 years based on ACCA, the defendant
               would have been sorely misled and would have a ground for moving to
               withdraw the plea.

        United States v. Rodriquez, 553 U.S. 377, 384 (2008).           Such erroneous sentencing

        information given during a Rule 11 colloquy cannot be cured by contrary information later

        contained in a PSR. United States v. Goins, 51 F.3d 400, 404 (4th Cir. 1995).

               To establish that a Rule 11 error affected his substantial rights under the third prong

        of plain error review, a defendant bears the burden to show “a reasonable probability that,

        but for the error, he would not have entered the plea.” Dominguez Benitez, 542 U.S. at 83.

        Although the reasonable probability standard is a demanding one, a defendant need not

        “prove by a preponderance of the evidence that but for error things would have been

        different.” Id. at 83 n.9. Instead, a defendant must “satisfy the judgment of the reviewing




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        court, informed by the entire record, that the probability of a different result is ‘sufficient

        to undermine confidence in the outcome’ of the proceeding.” Id. at 83 (citations omitted).

               In Massenburg, 564 F.3d 337, we applied this “whole record” prejudice inquiry to

        the same error presented here, namely, the district court’s failure to advise a defendant of

        his potential exposure to an enhanced sentence under the ACCA. And, as here, the

        defendant’s PSR included a statement that his criminal history qualified him to receive a

        sentence of 180 months to life imprisonment. Id. at 340. Had he pleaded guilty without

        the ACCA designation, Massenburg faced a statutory maximum of 120 months’

        imprisonment, and a guidelines range of between 77 and 96 months. 1 Applying the

        heightened statutory and guidelines ranges imposed by the ACCA, the district court

        sentenced Massenburg to a term of 210 months’ imprisonment. Id. at 339.

               Despite this significant increase in his sentence, we held under plain error review

        that Massenburg had not shown that the Rule 11 error affected his substantial rights. 564

        F.3d at 346. After considering the entire record, we emphasized several facts indicating

        that the error had not affected Massenburg’s decision to plead guilty: (1) Massenburg had

        not made any “statements on the record . . . suggesting that [he] would not have pleaded

        guilty if the district court had properly informed him of the sentencing exposure that he

        faced”; (2) Massenburg had not moved to withdraw his guilty plea after learning from the

        PSR that he could be sentenced under the ACCA; and (3) the parties did not dispute that

        the evidence of Massenburg’s guilt was “strong.” Id. at 343-44.


               1
                 This guidelines range accounts for a three-level reduction for acceptance of
        responsibility. See USSG Ch. 5 pt. A.
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                 Critical to our analysis was the fact that Massenburg “presented no evidence

        suggesting that the [error] affected his decision to plead.” Id. at 346 (emphasis added).

        Given this “absence of any evidence in the record” supporting Massenburg’s claim of

        prejudice, we concluded that he had not satisfied his burden to show that there was a

        “reasonable probability” that he would not have pleaded guilty had he been advised

        properly of his sentencing exposure. Id. at 339, 343-46; see Dominguez Benitez, 542 U.S.

        at 76.

                 With this precedent in mind, we turn to consider the facts in the record before us to

        determine whether Lockhart has shown a reasonable probability that he would not have

        entered his guilty plea in the absence of the erroneous information he received during the

        Rule 11 colloquy. Like Massenburg, Lockhart did not object to the Rule 11 error in the

        district court. Nor did he seek to withdraw his guilty plea after learning of his ACCA

        exposure. And, like most defendants who plead guilty, the government’s evidence against

        Lockhart indisputably was strong.

                 Nevertheless, the magistrate judge’s failure to inform Lockhart of the correct

        sentencing range was an obvious and significant mistake. Such an error undermines the

        very purpose of Rule 11 that a defendant be fully informed of the nature of the charges

        against him and of the consequences of his guilty plea. See Massenburg, 564 F.3d at 346;

        Hairston, 522 F.3d at 340-41. As a result of this error, Lockhart had every reason to think

        after the plea hearing that he would receive a sentence within the stated statutory range of

        between zero and 120 months’ imprisonment, with an advisory guidelines range of between

        46 and 57 months. 18 U.S.C. § 924(a)(2). This guidelines range included the primary

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        benefit of pleading guilty, namely, a three-level reduction in the base offense level, which

        would have lowered Lockhart’s guidelines range from the otherwise-applicable range of

        between 63 and 78 months’ imprisonment.

               Additionally, it was reasonable for Lockhart to think that he might receive a

        sentence on the low end of his 46 to 57-month guidelines range, because his prior criminal

        history was limited to offenses committed within a short time frame while he was a

        juvenile. See 18 U.S.C. § 3553(a). Indeed, Lockhart objected to the classification of his

        prior convictions as ACCA predicates based in part on his youth at the time they were

        committed.

               Lockhart’s “designation as an armed career criminal, however, completely changed

        the sentencing calculus” in several notable ways. Hairston, 522 F.3d at 341. First, as

        discussed above, the ACCA substantially increased Lockhart’s sentencing exposure, a

        crucial consideration for a defendant considering whether to plead guilty. Instead of facing

        a statutory range of between zero and 120 months’ imprisonment, Lockhart faced a

        minimum sentence of 180 months and a maximum sentence of life imprisonment. 18

        U.S.C. § 924(a)(2), (e). His ACCA designation also significantly increased his guidelines

        range to between 188 and 235 months in prison, before credit for acceptance of

        responsibility. This increase represented a 125-month difference at the bottom of the range.

        Such a substantial increase in sentencing exposure obviously would have impacted

        Lockhart’s “assessment of his strategic position.” Dominguez Benitez, 542 U.S. at 85.

               Second, unlike the sentencing considerations present in Massenburg, the 180-month

        statutory minimum fixed by the ACCA severely restricted any benefit Lockhart could have

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        received by pleading guilty.     As explained above, Lockhart expected to receive an

        adjustment for acceptance of responsibility due to his guilty plea, reducing the low end of

        his guidelines range by 17 months, from 63 to 46 months, a 27% reduction. However, due

        to the ACCA’s 180-month mandatory minimum, the acceptance of responsibility

        adjustment only reduced the bottom of his guidelines range by eight months, from 188 to

        180 months, a 4.2% reduction. 2 Notably, this reduction in benefit was far greater than the

        detrimental impact resulting from the ACCA enhancement in Massenburg. There, because

        of Massenburg’s more extensive criminal history, he received about a 23% reduction of

        the bottom of his guidelines range due to his acceptance of responsibility, both with and

        without the ACCA enhancement.

               There is no evidence in the present record that Lockhart obtained any benefit as a

        result of his decision to plead guilty other than the acceptance of responsibility adjustment

        to his guidelines calculation. Lockhart was charged with a single count under Section

        922(g), and, thus, the government did not dismiss any additional charges in return for

        Lockhart’s agreement to plead guilty. Accordingly, once designated an armed career

        criminal, the benefit Lockhart received from pleading guilty was an eight-month reduction

        of the bottom of his guidelines range. To reiterate, instead of 46 months at the low end of

        his guidelines range, Lockhart faced a non-negotiable 180-month minimum with the

        ACCA designation. This statutorily imposed minimum also precluded Lockhart from



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                We focus on the bottom end of Lockhart’s guidelines range because, as discussed
        above, Lockhart had every reason to think he would receive a sentence at the low end of
        the range.
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        requesting a downward variance based on his youth at the time he committed his predicate

        offenses, or on any other mitigating factors that he otherwise could have asserted in

        accordance with 18 U.S.C. § 3553(a).

               Rather than accepting a plea with little benefit, Lockhart could have exercised his

        right to require the government to prove at trial all the elements of the offense beyond a

        reasonable doubt. And importantly, unlike counsel for Massenburg, Lockhart’s appellate

        counsel has represented to this Court that if we vacate Lockhart’s guilty plea, Lockhart will

        proceed to trial in the district court. Cf. Massenburg, 564 F.3d at 343 (“Even on appeal,

        Massenburg has not alleged that he would have gone to trial in the absence of the district

        court’s error.”). Thus, considering the totality of the circumstances relevant to Lockhart’s

        potential sentence, we conclude that the required warning about his ACCA exposure would

        have had a significant effect on his “assessment of his strategic position.” 3 Dominguez

        Benitez, 542 U.S. at 85.




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                 Consistent with this conclusion, nationwide data show that federal defendants who
        are designated armed career criminals decline to plead guilty with noticeable frequency.
        U.S. Sentencing Commission, Mandatory Minimum Penalties for Federal Firearms
        Offenses in the Federal Criminal Justice System 37 (March 2018), available at
        https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
        publications/2018/20180315_Firearms-Mand-Min.pdf. Overall, across all types of cases,
        defendants proceed to trial less than 3% of the time. Id. Yet, defendants subject to the
        180-month mandatory minimum imposed by the ACCA exercise their right to a trial in
        13.5% of cases, more than four times the rate of offenders generally. Id. This trial rate is
        higher than that of defendants subject to mandatory minimum sentences generally, and
        higher even than defendants subject to the severe mandatory minimum penalties applicable
        to convictions under 18 U.S.C. § 924(c). Id. These statistics illustrate the commonsense
        conclusion that defendants like Lockhart who have little to gain by pleading guilty are more
        likely to take their chances at trial.
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               We find no merit in the government’s contention that the impact of this Rule 11

        error is rendered doubtful by defense counsel’s eleventh-hour statement to the district court

        that Lockhart knew about his ACCA designation. Defense counsel made this claim at the

        end of the sentencing hearing after conferring with the government’s counsel. We have no

        way of evaluating the credibility of defense counsel’s statement. Nor can we assess the

        substance of any alleged conversation or whether Lockhart understood his ACCA exposure

        as a result. The district court did not ask counsel any clarifying questions, acknowledge

        the Rule 11 error, or seek to confirm counsel’s allegation with Lockhart himself. We thus

        conclude that counsel’s statement is minimally probative on the question of prejudice.

               We similarly give little weight to the government’s description of Lockhart’s

        potential sentencing exposure at the arraignment hearing in this case. Lockhart’s counsel

        waived a formal reading of the indictment. While advocating for Lockhart’s pretrial

        detention, the government’s counsel stated that the ACCA enhancement “might indeed”

        apply to Lockhart, while acknowledging that Lockhart’s criminal history had not yet been

        computed. The government also noted that Lockhart’s criminal history consisted of a

        single consolidated judgment, which might or might not qualify as multiple ACCA

        predicates. Given the government’s assertion at the plea hearing three months later that

        Lockhart faced a 10-year maximum, we think the government’s ambiguous reference at

        the arraignment hearing plainly was insufficient to provide Lockhart substantive notice of

        his ACCA exposure.

               Based on this record, we decline to assume that Lockhart knew of his ACCA

        exposure before he pleaded guilty, especially given that he was not trained in the law, the

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        indictment did not reference Section 924(e), he was deprived of his right to be advised

        correctly by the court during the Rule 11 hearing, and counsel did not object to the obvious

        error made during the plea colloquy.

                   Lockhart’s contention of prejudice is strengthened further by the Supreme Court’s

        decision in Rehaif, 139 S. Ct. 2191, an intervening change in the law relevant to the validity

        of Lockhart’s guilty plea under Section 922(g). 4 In Rehaif, the Supreme Court held that,

        to obtain a conviction under Section 922(g), the government “must prove both that the

        defendant knew he possessed a firearm and that he knew he belonged to the relevant

        category of persons barred from possessing a firearm.” Id. at 2200. The Court’s holding

        in Rehaif abrogated the prior precedent of this Circuit, which did not require proof of a

        defendant’s knowledge that he belonged to the relevant category. See United States v.

        Langley, 62 F.3d 602, 604-06 (4th Cir. 1995), abrogated by Rehaif, 139 S. Ct. 2191.

               At the time Lockhart entered his plea, no one in the courtroom, including Lockhart,

        his counsel, the government, or the magistrate judge, understood the essential elements of

        the Section 922(g) offense. See Bousley v. United States, 523 U.S. 614, 618-19 (1998); see

        also Fed. R. Crim. P. 11(b)(1)(G) (court must advise defendant of “the nature of each

        charge to which [he] is pleading” guilty). The requirement that a defendant understand the



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                 We disagree with the government’s assertion that Lockhart waived his Rehaif
        argument by failing to raise it in his opening brief, which was filed before Rehaif was
        decided. As we have explained, “an appellant can only ‘abandon’ an argument that was
        actually available to him,” and thus may raise a new argument based on an intervening
        change in the law during the pendency of an appeal. United States v. White, 836 F.3d 437,
        443 (4th Cir. 2016), abrogated on other grounds by United States v. Stitt, 139 S. Ct. 399
        (2018).
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        essential elements of the offense to which he pleads guilty is rooted in fundamental

        principles of due process. See Bousley, 523 U.S. at 618-19; Henderson v. Morgan, 426

        U.S. 637, 644-45 (1976). Given the wholesale misunderstanding of the law at the time of

        his plea, Lockhart argues that his guilty plea was involuntary and must be vacated. See

        Bousley, 523 U.S. at 618-19; Henderson, 426 U.S. at 644-45.

               The government concedes, and we agree, that the magistrate judge plainly erred in

        accepting Lockhart’s guilty plea based on this pre-Rehaif understanding of the law. See

        Henderson v. United States, 568 U.S. 266, 268-69 (2013) (question whether an error is

        “plain” is determined based on the law at the time of appeal, not at the time the district

        court acted). The government argues, however, that we should require Lockhart to show

        he was prejudiced by the Rehaif error pursuant to our traditional plain error review, because

        the claim was not preserved in the district court. See Olano, 507 U.S. 725.

               We need not, and do not, decide today whether a standalone Rehaif error requires

        automatic vacatur of a defendant’s plea, or whether such error should be reviewed for

        prejudice under Olano, because Lockhart has satisfied the more demanding Olano standard

        based on the two errors before us.         Therefore, given the procedural and factual

        circumstances of this case, we hold that the magistrate judge’s failure to properly advise

        Lockhart of his ACCA exposure, together with the Rehaif error, in the aggregate are

        “sufficient to undermine confidence in the outcome of the proceeding.” Dominguez

        Benitez, 542 U.S. at 83 (citation and internal quotation marks omitted).

               Before a defendant enters a plea of guilty, he is entitled to understand the nature of

        the offense to which he is admitting guilt and the consequences of his plea. See Bousley,

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        523 U.S. at 618-19; Hairston, 522 F.3d at 340; Fed. R. Crim. P. 11(b)(1)(G)-(I). The errors

        that occurred in this case prevented Lockhart from engaging in the calculus necessary to

        enter a plea on which this Court can rely in confidence. We therefore hold that those errors

        “seriously affect[] the fairness, integrity or public reputation of judicial proceedings.”

        Olano, 507 U.S. at 732 (citation and internal quotation marks omitted). Accordingly, we

        exercise our discretion on plain error review and provide Lockhart with the remedy of

        vacating his guilty plea and conviction. Id.



                                                         III.

               For these reasons, we vacate Lockhart’s plea and conviction, and remand the case

        to the district court for further proceedings.

                                                                    VACATED AND REMANDED




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        WILKINSON, Circuit Judge, concurring:

               I am pleased to concur in Judge Keenan’s fine opinion in this case. The unusual

        circumstances here persuade me that the proper remedy is to vacate Lockhart’s guilty plea.

        Under the facts presented, I believe the majority has rightly found “a reasonable probability

        that, but for the error, [Lockhart] would not have entered the plea.” United States v.

        Dominguez Benitez, 542 U.S. 74, 76 (2004).

                                                      I.

               There are many reasons why guilty pleas are ordinarily deemed final in our criminal

        justice system. See United States v. Davila, 569 U.S. 597, 608 (2013) (underscoring “the

        particular importance of the finality of guilty pleas”) (quoting Dominguez Benitez, 542 U.S.

        at 82). For one, a guilty plea is uniquely susceptible to buyer’s remorse. A veritable barrage

        of what-ifs will naturally befall a defendant biding his time in the penitentiary—not least

        of which is the possibility, however unrealistic, that the jury may have found him innocent.

        Without a meaningful concept of finality, courts would find themselves confronting the

        reopening of countless cases.

               A second reason for finality is that guilty pleas inure to the benefit of defendants

        and prosecutors alike. From the defendant’s point of view, pleas offer an option of

        measured leniency—valuable leverage in negotiations for a lighter sentence or a dismissal

        of charges. Defendants can dangle before beleaguered prosecutors the tempting prospect

        of dispensing with the delays and burdens of a trial. And the finality of a plea ironically

        can protect defendants from themselves, and the harsher consequences that may await the

        rescission of a beneficial bargain. As for the government, the system of guilty pleas is


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        “indispensable in the operation of the modern criminal justice system,” Dominguez Benitez,

        542 U.S. at 83. Pleas afford the government the ability to seek prompt resolution of cases

        through a regularized process that has its share of critics, to be sure, but one that bears the

        earmarks of justice, among them the presence of defense counsel and the necessity of

        voluntary and knowledgeable consent.

               In short, courts should honor the terms of these deals much as they do a contract.

        See Garza v. Idaho, 139 S. Ct. 738, 744 (2019) (observing that “plea bargains are

        essentially contracts”) (internal citation omitted). As with any contract, plea negotiations

        come freighted with external pressures, among them the relative strength of the

        government’s case. And guilty pleas, like any other binding agreement, rest on a tradeoff

        between present certainty and future risk. Parties are willing to gain the surety of today in

        exchange for foregoing the promise and hazards of tomorrow. The stability of law rests in

        no small part on the sanctity of contract, and these bargains warrant respect.

               In keeping with these observations, I do not lightly join the majority in vacating

        Lockhart’s plea. But the errors in this case, as I see it, warped two inputs central to a

        defendant’s decision to waive or to exercise his right to trial: his sentencing exposure and

        the strength of the government’s case against him. Taking the first, the majority rightly

        acknowledges that a defendant’s sentencing exposure is “a crucial consideration for a

        defendant considering whether to plead guilty.” Maj. Op. at 10. And the magistrate judge

        in this case committed plain error under Federal Rule of Criminal Procedure Rule 11 by

        misadvising Lockhart about this consideration. Lockhart, to wit, was led to believe that he

        faced a 10-year maximum sentence when he in fact faced a 15-year mandatory minimum

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        with a maximum of life in prison under ACCA. Indeed, once we account for the correct

        exposures, it is clear that Lockhart gained rather little by pleading guilty. As the majority

        notes, “once designated an armed career criminal, the benefit Lockhart received from

        pleading guilty was an eight-month reduction of the bottom of his guidelines range.” Maj.

        Op. at 11.

               While the PSR with which Lockhart confirmed his familiarity at sentencing

        corrected this error, the district court never spelled out to Lockhart the magistrate judge’s

        mistake. See J.A. 35-53. In view of the overall strength of the government’s case, however,

        which included the fact that the police saw him trying to dispose of the Glock nine-

        millimeter pistol under the car seat as they approached, it is difficult to believe that this

        error by itself affected Lockhart’s decision not to go to trial. In other words, it should not

        by itself entitle Lockhart to relief. For the “burden should not be too easy” for defendants

        on plain-error review, Dominguez Benitez, 542 U.S. at 82, else they could sandbag trial

        courts by pointing out errors long after the opportunity to take curative action has passed.

        A reviewing court, then, “must look to the entire record, not to the plea proceedings alone,”

        in assessing whether it is reasonably probable that a defendant would have gone to trial

        absent the error. Id. at 80.

               The majority’s probing review of the record is faithful to that instruction: It

        identifies a “possible defense[] that appear[s] from the record,” which bears on the “overall

        strength of the Government’s case”—namely, Lockhart’s Rehaif defense to his § 922(g)

        felon-in-possession charge. Id. at 85. In Rehaif v. United States, 139 S. Ct. 2191 (2019),

        the Supreme Court held that a felon-in-possession charge under § 922(g) requires the

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        government to prove not only that a defendant knew he possessed a firearm, but also that

        he knew his status as a felon when he possessed it, id. at 2194. On this front, Lockhart

        argues that he had little reason to know, as the statute requires, that he was a felon. Indeed,

        his prior convictions arose from a single state-court judgment when he was 16 years old

        and this fact, he argues, would make proving the mens rea for this element a non-trivial lift

        for the government.

               I am skeptical of this assertion for several reasons. First, Lockhart’s allocution

        statement seems to admit that he knew he was a felon when he committed the charged

        crime. J.A. 47. Second, Lockhart who claims no knowledge of his felon status spent well

        over a year in prison for his prior state convictions. Again, if Lockhart’s Rehaif defense

        was all there was, that alone in my view would not have indicated a reasonable probability

        that Lockhart would have gone to trial absent the error. As with the Rule 11 error, the

        presence of this Rehaif defense would not by itself entitle Lockhart to relief.

               I agree with the majority opinion, however, that “in the aggregate” these errors “‘are

        sufficient to undermine confidence in the outcome of the proceeding.’” Maj. Op. at 15

        (quoting Domingez Benitez, 542 U.S. at 83). Whereas neither error considered in isolation

        would, as I see it, entitle Lockhart to relief under the reasonable probability standard, the

        two factors in combination are more troubling than either standing alone. And that is not

        all. As precedent requires, see Dominguez Benitez, 542 U.S. at 83, the record contains

        affirmative evidence that this proceeding, taken as a whole, affected the defendant’s

        calculus.



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               On that score, Lockhart’s counsel exhibited “starkly odd behavior” in conferring

        with the Assistant United States Attorney and volunteering to the district court that

        Lockhart knew about his potential ACCA enhancement—after the sentencing hearing had

        already concluded. Lockhart, 917 F.3d at 268 (Floyd, J., concurring in the judgment).

        While Lockhart’s counsel may have been acting in an effort to protect what he saw as a

        beneficial plea agreement, the fact that Lockhart never had the opportunity during the

        pendency of sentencing proceedings to personally confirm or deny his knowledge of the

        ACCA enhancement is, when combined with the earlier confusion, problematic. See J.A.

        35-53. A few days later, Lockhart filed a pro se notice of appeal requesting a new lawyer.

        Because Lockhart’s case never went to trial, this request may well have related to

        miscommunications surrounding Lockhart’s guilty plea. And, if construed in Lockhart’s

        favor, it suggests that Lockhart’s counsel, as well as the magistrate judge, gave him bad

        advice.

               In short, too much went wrong here. Plea and sentencing proceedings need not be

        styled to perfection, but they must be fair. See Fed. R. Crim. P. 11(h) (subjecting Rule 11

        mistakes to harmless error review). And just as different facts may counsel hesitation

        before we disturb the finality of guilty pleas, so also may a different result be required for

        ostensibly similar cases arising in a different procedural posture. The greatest degree of

        caution is required before we permit withdrawal of guilty pleas on collateral review. The

        Supreme Court has long recognized the diminished finality interests accorded to a criminal

        conviction on direct review. See, e.g., Brecht v. Abrahamson, 507 U.S. 619, 635 (1993)

        (“The reason most frequently advanced in our cases for distinguishing between direct and

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        collateral review is the State’s interest in the finality of convictions that have survived

        direct review within the state court system.”). This applies with equal force to guilty pleas.

        In fact, “[t]he interest in finality of guilty pleas . . . is of somewhat lesser weight when a

        direct appeal is involved.” Fed. R. Crim. P. 11 advisory committee’s note (1983).

               The majority is right to say that “the reasonable probability standard is a demanding

        one” for a defendant wishing to upset the finality of a guilty plea. Maj. Op. at 7. But that

        standard does not leave us bereft of the ability to correct serious misfires in the plea

        bargaining process. Because this case arises on direct review, and because the particular

        circumstances surrounding the intervening Rehaif decision and the original Rule 11 error

        are enough in combination to establish a “reasonable probability” under Dominguez

        Benitez, I believe this is one of those unusual cases where vacating a defendant’s plea is

        appropriate.




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        WYNN, Circuit Judge, concurring:

               I concur fully in the majority opinion’s thorough analysis of the district court’s

        failure to properly advise Lockhart of the potential sentence he faced under the Armed

        Career Criminal Act. I also join the majority’s conclusion that “the magistrate judge

        plainly erred in accepting Lockhart’s guilty plea based on [a] pre-Rehaif understanding of

        the law.” Maj. Op. at 15 (referring to Rehaif v. United States, 139 S. Ct. 2191 (2019)).

        However, the majority does not—but should—take this opportunity to answer a central

        question that Rehaif left unaddressed: What standard should courts use to decide whether

        to vacate a conviction tainted by Rehaif error?

               As the majority notes, at the third step of the Olano inquiry, a defendant must show

        that the error affected his substantial rights. Maj. Op. at 5-6 (citing United States v. Olano,

        507 U.S. 725, 732 (1993)). “[I]n most cases,” for an error to have affected substantial

        rights under Federal Rule of Criminal Procedure 52(a) or (b), it “must have been

        prejudicial: It must have affected the outcome of the district court proceedings.” Olano,

        507 U.S. at 734. However, there is “a limited class of fundamental constitutional errors

        that . . . are so intrinsically harmful as to require automatic reversal . . . without regard to

        their effect on the outcome.” Neder v. United States, 527 U.S. 1, 7 (1999) (citing Fed. R.

        Crim. P. 52(a)). Under Rule 52(b) plain-error review, this Court has held that such

        “structural errors” “necessarily affect substantial rights, satisfying Olano’s third prong.”

        United States v. Ramirez-Castillo, 748 F.3d 205, 215 (4th Cir. 2014) (citing United States

        v. David, 83 F.3d 638, 647 (4th Cir. 1996)). This Court has not yet determined whether a

        Rehaif error is a structural error.


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               The majority explicitly avoids this question by finding sufficient prejudice in the

        Rehaif error combined with the erroneous sentencing information Lockhart received during

        the Rule 11 colloquy. In effect, the majority opinion adds very little to the jurisprudence

        interpreting Rehaif because Lockhart was prejudiced by the Rule 11 error standing alone.

        The opinion should go further and evaluate whether, and on what basis, the Rehaif error

        provides an alternative justification for vacating Lockhart’s guilty plea and conviction.

               Courts will need to decide what defendants must show in order to obtain relief under

        Rehaif—that is, if defendants who can demonstrate Rehaif errors on plain-error review can

        automatically satisfy the third prong of Olano, or if such defendants must show prejudice

        arising from the error. Rather than leave this important issue to a future panel, in my view,

        this en banc Court should confront it. The question is squarely presented in this case. The

        Court should not save for another day what it can do now. Instead, the Court should take

        this opportunity to provide clarity for parties facing uncertainty after Rehaif.




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        RUSHING,       Circuit    Judge,    with    whom      Judges    NIEMEYER,         AGEE,      and

        QUATTLEBAUM join, dissenting:

               I respectfully dissent. This Court’s authority to vacate a guilty plea and conviction

        is strictly circumscribed where, as here, the defendant did not move to withdraw his guilty

        plea in the district court or attempt to bring the errors complained of on appeal to the district

        court’s attention in any fashion. The limits on our authority are not discretionary—they

        are imposed by the Federal Rules of Criminal Procedure, Supreme Court decisions, and

        precedent from this Court. In my view, faithful application of those limits requires

        affirmance. Lockhart has not satisfied his burden to show that the Rule 11 error or the

        Rehaif error, separately or combined, affected his substantial rights.

                                                       I.

               If a defendant believes that an error has occurred to his detriment in a federal

        criminal proceeding, “he must object in order to preserve the issue.” Puckett v. United

        States, 556 U.S. 129, 134 (2009); see Fed. R. Crim. P. 51(b). “If he fails to do so in a

        timely manner, his claim for relief from the error is forfeited.” Puckett, 556 U.S. at 134;

        see United States v. Olano, 507 U.S. 725, 731 (1993); Yakus v. United States, 321 U.S.

        414, 444 (1944). “If an error is not properly preserved, appellate-court authority to remedy

        the error . . . is strictly circumscribed.” Puckett, 556 U.S. at 134.

               Rule 52(b) of the Federal Rules of Criminal Procedure creates “a limited exception”

        to the appellate preclusion that follows a defendant’s forfeiture of an error in the district

        court. Puckett, 556 U.S. at 135. Under Rule 52(b), “[a] plain error that affects substantial

        rights may be considered even though it was not brought to the court’s attention.” The


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        Supreme Court has instructed that so-called “plain-error review” has four requirements:

        (1) an error; (2) that is clear; (3) that affected the defendant’s “substantial rights,” which

        ordinarily requires that the error “‘affected the outcome’” of the proceedings; and (4) that

        “‘seriously affect[s] the fairness, integrity[,] or public reputation of judicial proceedings.’”

        Puckett, 556 U.S. at 135 (first alteration in original) (quoting Olano, 507 U.S. at 734, 736).

        If the first three requirements are not satisfied, a court of appeals “ha[s] no authority to

        correct” the error. Olano, 507 U.S. at 741. Even if those requirements are satisfied, the

        court may remedy the error at its discretion only if the fourth requirement is also satisfied.

        Puckett, 556 U.S. at 135; Olano, 507 U.S. at 732. The defendant bears the burden of

        establishing entitlement to relief at every step of the analysis. United States v. Dominguez

        Benitez, 542 U.S. 74, 82 (2004); see United States v. Vonn, 535 U.S. 55, 59 (2002).

               To establish the prejudice required at the third step of this analysis, “a defendant

        who seeks reversal of his conviction after a guilty plea, on the ground that the district court

        committed plain error [in accepting his plea] under Rule 11, must show a reasonable

        probability that, but for the error, he would not have entered the plea.” Dominguez Benitez,

        542 U.S. at 83. Relief on appeal from a guilty plea is “difficult to get” under this standard,

        “as it should be.” Id. at 83 n.9. By design, this standard “demand[s] strenuous exertion to

        get relief for unpreserved error,” in order to “encourage timely objections,” “reduce

        wasteful reversals,” and accord proper respect to “the finality of guilty pleas,” which are

        “indispensable” to “the modern criminal justice system” and “usually rest, after all, on a

        defendant’s profession of guilt in open court.” Id. at 82–83. An appellate court must

        consider “the entire record,” not merely the plea hearing, in assessing whether the

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        defendant has carried his burden to show that it is reasonably probable he would not have

        pleaded guilty absent the error. Id. at 83; see Vonn, 535 U.S. at 59.

                                                     II.

               Lockhart pleaded guilty to possession of a firearm by a felon, in violation of 18

        U.S.C. § 922(g)(1), and was sentenced to the mandatory minimum term of imprisonment

        applicable to his crime in light of his history as an armed career criminal. See 18 U.S.C.

        § 924(e). On appeal, Lockhart identifies two errors in the district court proceedings that

        he did not raise below. First, during the plea colloquy, the magistrate judge did not advise

        Lockhart of the increased sentence he could face because of his potential eligibility under

        the Armed Career Criminal Act (ACCA). I agree with the majority that this was a clear

        error under Rule 11(b)(1)(H) and (I). See United States v. Hairston, 522 F.3d 336, 340–

        341 (4th Cir. 2008) (holding that, although a district court “could not [be] certain” about

        whether ACCA would apply at the time of a Rule 11 proceeding, the court nevertheless

        must “anticipate the possibility” and inform the defendant ACCA “could” potentially

        apply). Second, no one informed Lockhart that the crime to which he pleaded guilty

        required the Government to prove, or Lockhart to admit, that he knew, when he possessed

        the firearm, that he had previously been convicted of a crime punishable by imprisonment

        for more than one year. I agree with the majority that, in light of the Supreme Court’s

        recent decision in Rehaif v. United States, 139 S. Ct. 2191 (2019), this was also an error

        that was clear by the time of our en banc deliberation in this case. I part ways with the

        majority at the third step of the analysis—the prejudice inquiry. Lockhart has not shown a

        reasonable probability that, but for these errors, he would not have entered his plea.

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                                                    A.

               Beginning with the Rule 11 error, the Court must consider the entire record to

        determine whether Lockhart has shown a reasonable probability that, but for the magistrate

        judge’s failure to correct the Government’s misstatement of Lockhart’s sentencing

        exposure during the plea colloquy, he would not have pleaded guilty. See Dominguez

        Benitez, 542 U.S. at 83. The Court is not at liberty to “upset a plea solely because of post

        hoc assertions from a defendant about how he would have pleaded” absent the error; rather,

        the Court must “look to contemporaneous evidence to substantiate a defendant’s expressed

        preferences.” Lee v. United States, 137 S. Ct. 1958, 1967 (2017). As the Supreme Court

        has instructed, the Court should consider evidence that Lockhart was correctly informed

        elsewhere about his sentencing exposure. See Vonn, 535 U.S. at 75 (considering evidence

        that the defendant was informed of his right to trial counsel before the plea proceeding);

        Dominguez Benitez, 542 U.S. at 84–85 (requiring consideration of “other facts that may

        have borne on [the defendant’s] choice regardless of any Rule 11 error”).

               During his arraignment proceeding—before he entered a plea—Lockhart was

        correctly advised that “the ordinary maximum punishment is up to 10 years[’]

        imprisonment” but that, “if [he had] three previous convictions for a violent felony or

        serious drug offense, the minimum term would be 15 years and the maximum sentence

        [would be] life imprisonment.” J.A. 13. The Government specifically advised that,

        “[w]hile his criminal history [had not] been computed,” the Government “[thought] that

        [the enhanced penalty] might indeed apply here.” J.A. 13. In response, Lockhart’s counsel

        previewed that he “would argue that it’s 10 years.” J.A. 15.

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               The presentence report—prepared after Lockhart pleaded guilty—correctly advised

        Lockhart that, under ACCA, he was subject to a mandatory minimum of 15 years in prison

        and a maximum of life. J.A. 80–82, 86. The presentence report specifically noted that,

        during the plea hearing, Lockhart had been misinformed that his maximum sentencing

        exposure was 10 years in prison when in fact his mandatory minimum sentence was 15

        years. J.A. 87. Lockhart received the presentence report and filed objections, including

        objecting to the application of ACCA on the grounds that he was a juvenile at the time of

        the predicate offenses and that the offenses were part of one continuous string of robberies.

        J.A. 63–64. But Lockhart never objected to the application of ACCA on the ground that

        he had been misinformed about his sentencing exposure at the time he pleaded guilty. Nor

        did Lockhart attempt to withdraw his guilty plea after the presentence report correctly

        informed him of his sentencing range, despite his right to withdraw his plea before

        sentencing for “a fair and just reason.” Fed. R. Crim. P. 11(d)(2)(B).

               At sentencing, Lockhart was again correctly informed about the mandatory

        minimum sentence and expressed no surprise or confusion. To the contrary, he confirmed

        that he had read the presentence report, reviewed it with his attorney, and understood it.

        The district court sentenced Lockhart to the mandatory minimum of 15 years in prison

        pursuant to ACCA. After the court pronounced the sentence, Lockhart’s counsel asked to

        confer with the Government’s attorney. After he did so, Lockhart’s counsel stated: “I’m

        going back to his plea colloquy. He didn’t plead to [ACCA;] it was not on the Bill of

        Indictment. But I went over it beforehand. So I just want to put it on the record that he

        was fully aware of that. I just thought about it.” J.A. 51–52. That statement is consistent

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        with the record, and no one has questioned counsel’s credibility. But see Maj. Op., supra,

        at 13 (“We have no way of evaluating the credibility of defense counsel’s statement.”).

        Lockhart did not dispute the accuracy of his attorney’s representation at sentencing, nor

        has he disputed it on appeal. 1 The arraignment, the presentence report, defense counsel’s

        statement, and the absence of any adverse response from Lockhart are powerful indicators

        that Lockhart would have persisted in his guilty plea even if he had been given correct

        information about his potential sentencing exposure during the plea hearing.

               The Court should also consider “the overall strength of the Government’s case and

        any possible defenses that appear from the record,” as the Supreme Court has instructed.

        Dominguez Benitez, 542 U.S. at 85. Police found Lockhart sitting in the front seat of a car

        with a loaded pistol beside him and an extra magazine in the pocket of the driver’s side

        door. Lockhart told the officers he was trying to push the gun under the seat when they

        arrived. Lockhart had been convicted of multiple felonies punishable by one year or more

        in prison at the time he possessed the gun and, as will be discussed, see infra II.B., the

        evidence indicates that Lockhart knew he was a felon at the time. In light of these facts,

        one could fairly ask what Lockhart “could gain by going to trial.” Dominguez Benitez, 542

        U.S. 85. In contrast, by pleading guilty, Lockhart shaved eight months off the bottom of

        his Guideline sentencing range, moving the range as low as possible in light of the statutory


               1
                Judge Wilkinson notes that Lockhart requested a new attorney on appeal. Conc.
        Op., supra, at 21. We do not know the reason for this request, which could have related to
        any number of grievances, including “buyer’s remorse.” Conc. Op., supra, at 17.
        Importantly, Lockhart does not claim that he requested new counsel because his prior
        counsel misspoke when he told the court Lockhart was “fully aware” of the ACCA
        enhancement.
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        mandatory minimum. Cf. Rosales-Mireles v. United States, 138 S. Ct. 1897, 1907 (2018)

        (“Any amount of actual jail time is significant . . . .” (internal quotation marks and

        alteration omitted)).

               The majority correctly observes that that the most closely analogous precedent is

        our decision in United States v. Massenburg, 564 F.3d 337 (4th Cir. 2009). Maj. Op.,

        supra, at 8. Massenburg was also misinformed at his plea hearing that he faced a ten-year

        maximum prison sentence for pleading guilty to being a felon in possession of a firearm

        when, in fact, ACCA applied and subjected him to a 15-year mandatory minimum. As

        here, the presentence report included the correct ACCA calculation. The district court

        sentenced Massenburg to 210 months in prison. On appeal, we concluded that Massenburg

        had failed to demonstrate prejudice under plain-error review. As the majority correctly

        summarizes, we emphasized several facts, each of which applies equally here:

        “(1) Massenburg had not made any statements on the record suggesting that he would not

        have pleaded guilty if the district court had properly informed him of the sentencing

        exposure that he faced; (2) Massenburg had not moved to withdraw his guilty plea after

        learning from the [presentence report] that he could be sentenced under the ACCA; and

        (3) the parties did not dispute that the evidence of Massenberg’s guilt was strong.” Maj.

        Op., supra, at 8 (internal quotations marks and alterations omitted). This Court’s decision

        in Massenburg compels the conclusion that Lockhart also has not carried his burden to

        demonstrate prejudice.

               Indeed, Lockhart’s case for prejudice is even weaker than Massenberg’s.          In

        addition to the shared facts listed above, Lockhart was correctly informed at his

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        arraignment—before pleading guilty—that ACCA’s increased sentencing range could

        apply to him. And Lockhart’s attorney—who attended the arraignment—later represented

        to the district court in Lockhart’s presence that counsel “went over [ACCA] beforehand”

        with Lockhart and Lockhart “was fully aware” that ACCA’s enhanced penalty may apply.

        J.A. 51–52. In light of Massenburg, Lockhart surely has failed to show “a reasonable

        probability that, but for the error [at his plea hearing], he would not have entered the plea.”

        Dominguez Benitez, 542 U.S. at 83.

               The majority attempts to distinguish Massenburg and finds prejudice from the Rule

        11 error based on the fact that “ACCA substantially increased Lockhart’s sentencing

        exposure” and “severely restricted any benefit Lockhart could have received by pleading

        guilty.”   Maj. Op., supra, at 10–11.        Of course, ACCA “substantially increased”

        Massenburg’s sentencing exposure too, and it typically will—that is its purpose. Compare

        18 U.S.C. § 924(a)(2) with 18 U.S.C. § 924(e)(1). And a defendant’s “assessment of his

        strategic position” certainly is relevant to discerning whether he would have pleaded guilty

        absent the Rule 11 error. Dominguez Benitez, 542 U.S. at 85. But in my view, these

        strategic considerations cannot carry Lockhart’s burden in light of the evidence that he was

        repeatedly correctly informed of his sentencing exposure and yet, despite knowing his

        strategic position full well, never objected to the Rule 11 error, never moved to withdraw

        his guilty plea, and never indicated that he would not have pleaded guilty absent the error




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        in his plea hearing. 2 To rely on abstract strategic considerations alone and turn a blind eye

        to countervailing facts in the record about Lockhart’s actual decisions in the district court

        borders on presuming prejudice, and it gives short shrift to the Supreme Court’s instruction

        that the reviewing court’s judgment should be “informed by the entire record.” Dominguez

        Benitez, 542 U.S. at 83. As we recognized in Massenburg, “[d]efendants plead guilty for

        various reasons, many of which are wholly unrelated to the length of a potential sentence.”

        564 F.3d at 344. Lockhart has not told us why he pleaded guilty, and he is not required to.

        But neither has he given us reason to believe that, but for the magistrate judge’s error in

        the plea hearing, he would not have entered his plea.

                                                     B.

               Moving to the Rehaif error, I cannot conclude that Lockhart has shown that this

        error “‘affected the outcome of the district court proceedings.’” Puckett, 556 U.S. at 135

        (quoting Olano, 507 U.S. at 734). I assume, as the majority does, that the Rehaif error is

        subject to plain-error review. See Maj. Op., supra, at 15. Indeed, “while Rehaif’s impact

        is only beginning to be addressed, courts have thus far unanimously applied a plain error

        standard in addressing convictions obtained before that decision.” United States v. Balde,


               2
                 The majority cites United States v. Hairston, 522 F.3d 336 (4th Cir. 2008), in
        which the district court also failed to correctly inform the defendant of his sentencing
        exposure under ACCA. Application of the ACCA enhancement in that case “seemed to
        take the parties by surprise.” Id. at 339. The defendant moved to withdraw his guilty plea,
        explaining to the district court that he would not have pleaded guilty had he been aware of
        his ACCA exposure because “[his] kids would never see [him] again.” Id. There was
        “nothing in the record to show that [the defendant] otherwise had knowledge” of the ACCA
        enhancement. Id. at 341–342. Because the defendant preserved his objection in the district
        court, plain-error review did not apply, and the Government bore the burden on appeal to
        demonstrate that the error was harmless.
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        943 F.3d 73, 92 (2d Cir. 2019). Despite purporting to apply plain-error review, however,

        the majority does not identify any additional prejudice it believes Lockhart suffered from

        the Rehaif error. See Maj. Op., supra, at 15. I would hold that Lockhart has not carried

        his burden.

               The Court must again evaluate the error against the entire record. See Dominguez

        Benitez, 542 U.S. at 83; Vonn, 535 U.S. at 59. Lockhart admitted in the factual basis for

        his plea that he had been convicted of an offense punishable by more than one year in

        prison and that his firearm rights had not been restored. J.A. 21. The record shows that in

        2006, Lockhart pleaded guilty in state court to six counts of robbery with a dangerous

        weapon and four counts of conspiracy to commit robbery with a dangerous weapon. J.A.

        72–73; S.J.A. 1–5. The “transcript of plea” from the state court indicates that each of these

        offenses is a felony and the “maximum punishment” for each is more than one year of

        imprisonment. S.J.A. 5. Lockhart received two consecutive sentences of between 38 and

        55 months in prison for these convictions, which were consolidated into two judgments.

        Lockhart spent over six years in prison for these offenses. Roughly three years after his

        release, Lockhart was arrested on the instant felon-in-possession charge. When the officers

        arrested Lockhart, he told them that he was trying to push the gun under the seat of the car,

        apparently to hide it.    J.A. 21.    And at his sentencing, Lockhart admitted that he

        “possess[ed] a firearm when [he] knew [he] was a felon,” explaining that he kept the gun

        because he felt “like [his] family’s life was in danger.” J.A. 47.

               This evidence that Lockhart knew he had been convicted of a crime punishable by

        imprisonment exceeding one year when he possessed the firearm, see 18 U.S.C.

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        § 922(g)(1), strongly suggests that he would have persisted in his guilty plea even if he had

        been correctly instructed in accord with Rehaif. Lockhart argues that, if he had known of

        this element, he could have decided to put the Government to its proof at trial. But the

        preceding review of the record “reveals no reason to think that the government would have

        had any difficulty at all in offering overwhelming proof that [Lockhart] knew that he had

        previously been convicted of offenses punishable by more than a year in prison.” United

        States v. Burghardt, 939 F.3d 397, 404 (1st Cir. 2019); see Rehaif, 139 S. Ct. at 2198

        (noting that a defendant’s knowledge of his status can be inferred from circumstantial

        evidence). Like our sister circuits have held in similar cases concerning Rehaif errors in

        convictions under 18 U.S.C. § 922(g)(1), I would hold that Lockhart has failed to prove

        the prejudice required to vacate his guilty plea on plain-error review. See Burghardt, 939

        F.3d at 405–406 (rejecting challenge to Rehaif error in guilty plea on plain-error review in

        light of the whole record); United States v. Williams, 776 Fed. App. 387, 388 (8th Cir.

        2019) (per curiam) (same); United States v. Benamor, 937 F.3d 1182, 1189 (9th Cir. 2019)

        (rejecting challenge to Rehaif error in jury trial on plain-error review in light of the whole

        record); United States v. Hollingshed, 940 F.3d 410, 415–416 (8th Cir. 2019) (same);

        United States v. Reed, 941 F.3d 1018, 1021 (11th Cir. 2019) (same); United States v.

        Mancillas, No. 19-1151, 2020 WL 88794, at *1–2 (7th Cir. Jan. 7, 2020) (same); United

        States v. Johnson, 781 Fed. App. 370, 371 (5th Cir. 2019) (per curiam) (rejecting challenge

        to Rehaif error in factual basis for guilty plea on plain-error review in light of the whole

        record); United States v. Denson, 774 Fed. App. 184, 185 (5th Cir. 2019) (per curiam)



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        (same); United States v. Fisher, No. 18-3234, 2019 WL 6522869, at *5 (10th Cir. Dec. 4.

        2019) (same).

                                                    C.

              Having concluded that Lockhart has failed to show a reasonable probability that he

        would not have pleaded guilty but for the Rule 11 error or the Rehaif error, I also do not

        find his case for prejudice to be strengthened by combining those errors. “Errors are

        commonplace, . . . and our affection for procedural perfection cannot operate to the

        detriment of our commitment to other, equally important, principles of adjudication.”

        Massenburg, 564 F.3d at 345. Those principles include the limits on our power as a

        reviewing court to remedy unpreserved errors. Because Lockhart has not shown that the

        errors in this case affected the outcome of the proceedings, this Court “ha[s] no authority

        to correct [them].” Olano, 507 U.S. at 741. I would affirm.




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